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 5
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 6    JONG JA KIM
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      JONG JA KIM,                                Case No.:
11
                   Plaintiff,                     COMPLAINT FOR INJUNCTIVE
12                                                RELIEF AND DAMAGES FOR
            vs.                                   VIOLATION OF:
13
                                                  1. AMERICANS WITH DISABILITIES
14    LEE REAL CORP.; DOES 1 to 10,               ACT, 42 U.S.C. §12131 et seq.;
15                 Defendants.                    2. CALIFORNIA’S UNRUH CIVIL
                                                  RIGHTS ACT, CAL CIV. CODE §§ 51 -
16                                                52 et seq.;
17                                                3. CALIFORNIA’S DISABLED
                                                  PERSONS ACT, CAL CIV. CODE §54 et
18                                                seq.
19                                                4. CALIFORNIA’S UNFAIR
                                                  COMPETITION ACT, CAL BUS & PROF
20                                                CODE § 17200, et seq.
21                                                5. NEGLIGENCE
22
23
24
            Plaintiff JONG JA KIM (“Plaintiff”) complains of Defendants LEE REAL CORP.;

25
      DOES 1 to 10 (“Defendants”) and alleges as follows:

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27
28




                                    COMPLAINT FOR DAMAGES - 1
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 1                                  JURISDICTION AND VENUE
 2          1.      The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 3    violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 4          2.      Pursuant to pendant jurisdiction, attendant and related causes of action,
 5    arising from the same nucleus of operating facts, are also brought under California law,
 6    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 7    54, 54., 54.3 and 55.
 8          3.      Venue is proper in this court pursuant to 28 USC §1391(b). The real
 9    property which is the subject of this action is located in this district, Los Angeles County,
10    California, and that Plaintiff’s causes of action arose in this district.
11                                              PARTIES
12          4.      Plaintiff is a California resident with a physical disability. Plaintiff is
13    substantially limited in her ability to walk due to partial paralysis. Plaintiff requires the
14    use of a wheelchair at all times when traveling in public.
15          5.      Defendants are, or were at the time of the incident, the real property owners,
16    business operators, lessors and/or lessees of the real property for ALESSANDRO PET
17    SPA (“Business”) located at or about 4619 Santa Monica Blvd., #E, Los Angeles,
18    California.
19          6.      The true names and capacities, whether individual, corporate, associate or
20    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
21    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
22    Court to amend this Complaint when the true names and capacities have been
23    ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
24    fictitiously named Defendants are responsible in some manner, and therefore, liable to
25    Plaintiff for the acts herein alleged.
26          7.      Plaintiff is informed and believes, and thereon alleges that, at all relevant
27    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
28    Defendants, and/or was acting in concert with each of the other Defendants, and in doing



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 1    the things alleged herein was acting with the knowledge and consent of the other
 2    Defendants and within the course and scope of such agency or employment relationship.
 3          8.     Whenever and wherever reference is made in this Complaint to any act or
 4    failure to act by a defendant or Defendants, such allegations and references shall also be
 5    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 6    and severally.
 7                                   FACTUAL ALLEGATIONS
 8          9.     On or about January 8, 2020, Plaintiff went to the Business. On or about
 9    February 20, 2020, Plaintiff returned to the Business. The Business is a pet spa and pet
10    grooming business establishment, which is open to the public, is a place of public
11    accommodation and affects commerce through its operation.
12          10.    While attempting to enter the Business during each visit, Plaintiff personally
13    encountered a number of barriers that interfered with his ability to use and enjoy the
14    goods, services, privileges, and accommodations offered at the Business. To the extent
15    of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
16    limited to, the following:
17                 a.     Defendants failed to comply with the federal and state standards for
18                        the parking space designated for persons with disabilities. Defendants
19                        failed to provide any parking space designated for persons with
20                        disabilities.
21                 b.     Defendants failed to comply with the federal and state standards for
22                        the parking space designated for persons with disabilities. Defendants
23                        failed to provide the parking space identification sign with the
24                        International Symbol of Accessibility.
25                 c.     Defendants failed to comply with the federal and state standards for
26                        the parking space designated for persons with disabilities. Defendants
27                        failed to post required signage such as “Van Access,” “Minimum Fine
28                        $250” or “Unauthorized Parking.”



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 1                 d.     Defendants failed to maintain the parking space designated for
 2                        persons with disabilities to comply with the federal and state
 3                        standards. Defendants failed to provide proper van accessible space
 4                        designated for the persons with disabilities.
 5                 e.     Defendant failed to maintain the parking space designated for persons
 6                        with disabilities to comply with the federal and state standards.
 7                        Defendants failed to paint the ground as required.
 8                 f.     Defendant failed to maintain the parking space designated for persons
 9                        with disabilities to comply with the federal and state standards.
10                        Defendants failed to provide the access aisles with level surface
11                        slopes.
12                 g.     Defendant failed to maintain the parking space designated for persons
13                        with disabilities to comply with the federal and state standards.
14                        Defendants failed to provide a proper ramp for the persons with
15                        disabilities.
16          11.    These barriers and conditions denied Plaintiff the full and equal access to the
17    Business. Plaintiff wishes to patronize the Business again as it is conveniently located
18    for Plaintiff. However, Plaintiff is deterred from visiting the Business because his
19    knowledge of these violations prevents him from returning until the barriers are removed.
20          12.    Based on the violations, Plaintiff alleges, on information and belief, that
21    there are additional barriers to accessibility at the Business after further site inspection.
22    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
23    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
24          13.    In addition, Plaintiff alleges, on information and belief, that Defendants
25    knew that particular barriers render the Business inaccessible, violate state and federal
26    law, and interfere with access for the physically disabled.
27          14.    At all relevant times, Defendants had and still have control and dominion
28    over the conditions at this location and had and still have the financial resources to



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 1    remove these barriers without much difficulty or expenses to make the Business
 2    accessible to the physically disabled in compliance with ADDAG and Title 24
 3    regulations. Defendants have not removed such barriers and have not modified the
 4    Business to conform to accessibility regulations.
 5                                    FIRST CAUSE OF ACTION
 6        VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 7          15.    Plaintiff incorporates by reference each of the allegations in all prior
 8    paragraphs in this complaint.
 9          16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
10    shall be discriminated against on the basis of disability in the full and equal enjoyment of
11    the goods, services, facilities, privileges, advantages, or accommodations of any place of
12    public accommodation by any person who owns, leases, or leases to, or operates a place
13    of public accommodation. See 42 U.S.C. § 12182(a).
14          17.    Discrimination, inter alia, includes:
15                 a.    A failure to make reasonable modification in policies, practices, or
16                       procedures, when such modifications are necessary to afford such
17                       goods, services, facilities, privileges, advantages, or accommodations
18                       to individuals with disabilities, unless the entity can demonstrate that
19                       making such modifications would fundamentally alter the nature of
20                       such goods, services, facilities, privileges, advantages, or
21                       accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
22                 b.    A failure to take such steps as may be necessary to ensure that no
23                       individual with a disability is excluded, denied services, segregated or
24                       otherwise treated differently than other individuals because of the
25                       absence of auxiliary aids and services, unless the entity can
26                       demonstrate that taking such steps would fundamentally alter the
27                       nature of the good, service, facility, privilege, advantage, or
28




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 1                        accommodation being offered or would result in an undue burden. 42
 2                        U.S.C. § 12182(b)(2)(A)(iii).
 3                 c.     A failure to remove architectural barriers, and communication barriers
 4                        that are structural in nature, in existing facilities, and transportation
 5                        barriers in existing vehicles and rail passenger cars used by an
 6                        establishment for transporting individuals (not including barriers that
 7                        can only be removed through the retrofitting of vehicles or rail
 8                        passenger cars by the installation of a hydraulic or other lift), where
 9                        such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
10                 d.     A failure to make alterations in such a manner that, to the maximum
11                        extent feasible, the altered portions of the facility are readily
12                        accessible to and usable by individuals with disabilities, including
13                        individuals who use wheelchairs or to ensure that, to the maximum
14                        extent feasible, the path of travel to the altered area and the
15                        bathrooms, telephones, and drinking fountains serving the altered
16                        area, are readily accessible to and usable by individuals with
17                        disabilities where such alterations to the path or travel or the
18                        bathrooms, telephones, and drinking fountains serving the altered
19                        area are not disproportionate to the overall alterations in terms of cost
20                        and scope. 42 U.S.C. § 12183(a)(2).
21          18.    Where parking spaces are provided, accessible parking spaces shall be
22    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
23    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
24    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
25    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
26    be van parking space. 2010 ADA Standards § 208.2.4.
27          19.    Under the ADA, the method and color of marking are to be addressed by
28    State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California



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 1    Building Code (“CBC”), the parking space identification signs shall include the
 2    International Symbol of Accessibility. Parking identification signs shall be reflectorized
 3    with a minimum area of 70 square inches. Additional language or an additional sign
 4    below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
 5    parking space identification sign shall be permanently posted immediately adjacent and
 6    visible from each parking space, shall be located with its centerline a maximum of 12
 7    inches from the centerline of the parking space and may be posted on a wall at the
 8    interior end of the parking space. See CBC § 11B-502.6, et seq.
 9          20.    Moreover, an additional sign shall be posted either in a conspicuous place at
10    each entrance to an off-street parking facility or immediately adjacent to on-site
11    accessible parking and visible from each parking space. The additional sign shall not be
12    less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
13    letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
14    designated accessible spaces not displaying distinguishing placards or special license
15    plates issued for persons with disabilities will be towed always at the owner’s expense…”
16    See CBC § 11B-502.8, et seq.
17          21.    Here, Defendants failed to provide any parking space designated for persons
18    with disabilities. Defendants also failed to provide the parking space identification sign
19    with the International Symbol of Accessibility. In addition, Defendants failed to provide
20    signs stating “Minimum fine $250” or “Van Accessible.” Moreover, Defendants failed to
21    provide the additional sign with the specific languages stating “Unauthorized vehicles
22    parked in designated accessible spaces not displaying distinguishing placards or special
23    license plates issued for persons with disabilities will be towed always at the owner’s
24    expense…”
25          22.    For the parking spaces, access aisles shall be marked with a blue painted
26    borderline around their perimeter. The area within the blue borderlines shall be marked
27    with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
28    with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall



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 1    be painted on the surface within each access aisle in white letters a minimum of 12 inches
 2    (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
 3    11B-502.3.3.
 4          23.    Here, Defendants failed to properly maintain the access aisles as there was
 5    no “NO PARKING” or blue lines painted on the parking surface. Moreover, Defendants
 6    failed to provide the access aisle with the minimum width of 96 inches.
 7          24.    The surface of each accessible car and van space shall have surface
 8    identification complying with either of the following options: The outline of a profile
 9    view of a wheel chair with occupant in white on a blue background a minimum 36” wide
10    by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
11    of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
12    length of the parking space and its lower side or corner aligned with the end of the
13    parking space length or by outlining or painting the parking space in blue and outlining
14    on the ground in white or a suitable contrasting color a profile view of a wheel chair with
15    occupant. See CBC § 11B-502.6.4, et seq.
16          25.    Here, Defendants failed to paint the International Symbol of Accessibility on
17    the surface as required.
18          26.    Under the 1991 Standards, parking spaces and access aisles must be level
19    with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
20    Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
21    shall be part of an accessible route to the building or facility entrance and shall comply
22    with 4.3. Two accessible parking spaces may share a common access aisle. Parked
23    vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
24    and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
25    directions. 1991 Standards § 4.6.3.
26          27.    Here, the access aisles are not level with the parking spaces. Under the 2010
27    Standards, access aisles shall be at the same level as the parking spaces they serve.
28    Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required



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 1    to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
 2    2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted. 2010
 3          28.    The cross slope of ramp surfaces shall be no greater than 1:50. Ramp
 4    surfaces shall comply with 4.5. 1991 Standards § 4.8.6. Ramps and landings with drop-
 5    offs shall have curbs, walls, railings, or projecting surfaces that prevent people from
 6    slipping off the ramp. Curbs shall be a minimum of 2 in (50 mm) high. 1991 Standards §
 7    4.8.7. Outdoor ramps and their approaches shall be designed so that water will not
 8    accumulate on walking surfaces. 1991 Standards § 4.8.8. Ground and floor surfaces
 9    along accessible routes and in accessible rooms and spaces including floors, walks,
10    ramps, stairs, and curb ramps, shall be stable, firm, slip-resistant, and shall comply with
11    4.5. 1991 Standards § 4.5.1.
12          29.    Here, Defendants failed to provide a compliant ramp.
13          30.    A public accommodation shall maintain in operable working condition those
14    features of facilities and equipment that are required to be readily accessible to and usable
15    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
16    maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
17    violation of Plaintiff’s rights under the ADA and its related regulations.
18          31.    The Business has denied and continues to deny full and equal access to
19    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
20    discriminated against due to the lack of accessible facilities, and therefore, seeks
21    injunctive relief to alter facilities to make such facilities readily accessible to and usable
22    by individuals with disabilities.
23                                 SECOND CAUSE OF ACTION
24                    VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
25          32.    Plaintiff incorporates by reference each of the allegations in all prior
26    paragraphs in this complaint.
27          33.    California Civil Code § 51 states, “All persons within the jurisdiction of this
28    state are free and equal, and no matter what their sex, race, color, religion, ancestry,



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 1     national origin, disability, medical condition, genetic information, marital status, sexual
 2     orientation, citizenship, primary language, or immigration status are entitled to the full
 3     and equal accommodations, advantages, facilities, privileges, or services in all business
 4     establishments of every kind whatsoever.”
 5           34.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 6     or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 7     for each and every offense for the actual damages, and any amount that may be
 8     determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 9     amount of actual damage but in no case less than four thousand dollars ($4,000) and any
10     attorney’s fees that may be determined by the court in addition thereto, suffered by any
11     person denied the rights provided in Section 51, 51.5, or 51.6.
12           35.    California Civil Code § 51(f) specifies, “a violation of the right of any
13     individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
14     shall also constitute a violation of this section.”
15           36.    The actions and omissions of Defendants alleged herein constitute a denial
16     of full and equal accommodation, advantages, facilities, privileges, or services by
17     physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
18     Defendants have discriminated against Plaintiff in violation of California Civil Code §§
19     51 and 52.
20           37.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
21     difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
22     damages as specified in California Civil Code §55.56(a)-(c).
23                                    THIRD CAUSE OF ACTION
24                  VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
25           38.    Plaintiff incorporates by reference each of the allegations in all prior
26     paragraphs in this complaint.
27           39.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
28     entitled to full and equal access, as other members of the general public, to



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 1     accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
 2     and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
 3     railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
 4     of transportation (whether private, public, franchised, licensed, contracted, or otherwise
 5     provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 6     places of public accommodations, amusement, or resort, and other places in which the
 7     general public is invited, subject only to the conditions and limitations established by
 8     law, or state or federal regulation, and applicable alike to all persons.
 9           40.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
10     corporation who denies or interferes with admittance to or enjoyment of public facilities
11     as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
12     individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
13     the actual damages, and any amount as may be determined by a jury, or a court sitting
14     without a jury, up to a maximum of three times the amount of actual damages but in no
15     case less than one thousand dollars ($1,000) and any attorney’s fees that may be
16     determined by the court in addition thereto, suffered by any person denied the rights
17     provided in Section 54, 54.1, and 54.2.
18           41.    California Civil Code § 54(d) specifies, “a violation of the right of an
19     individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
20     constitute a violation of this section, and nothing in this section shall be construed to limit
21     the access of any person in violation of that act.
22           42.    The actions and omissions of Defendants alleged herein constitute a denial
23     of full and equal accommodation, advantages, and facilities by physically disabled
24     persons within the meaning of California Civil Code § 54. Defendants have
25     discriminated against Plaintiff in violation of California Civil Code § 54.
26           43.    The violations of the California Disabled Persons Act caused Plaintiff to
27     experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
28     statutory damages as specified in California Civil Code §55.56(a)-(c).



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 1                                  FOURTH CAUSE OF ACTION
 2                                  UNFAIR COMPETITION ACT
 3            44.    Plaintiff incorporates by reference each of the allegations in all prior
 4     paragraphs in this complaint.
 5            45.    Defendants have engaged in unfair competition, unfair or fraudulent
 6     business practices, and unfair, deceptive, untrue or misleading advertising in violation of
 7     the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
 8            46.    Defendants engage in business practices and policies that create systemic
 9     barriers to full and equal access for people with disability in violation of state and federal
10     law.
11            47.    The actions and omissions of Defendants are unfair and injurious to
12     Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
13     unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
14     provided with goods and services provided to other consumers. Plaintiff seeks relief
15     necessary to prevent Defendants’ continued unfair business practices and policies and
16     restitution of any month that Defendants acquired by means of such unfair competition,
17     including profits unfairly obtained.
18                                     FIFTH CAUSE OF ACTION
19                                            NEGLIGENCE
20            48.    Plaintiff incorporates by reference each of the allegations in all prior
21     paragraphs in this complaint.
22            49.    Defendants have a general duty and a duty under the ADA, Unruh Civil
23     Rights Act and California Disabled Persons Act to provide safe and accessible facilities
24     to the Plaintiff.
25            50.    Defendants breached their duty of care by violating the provisions of ADA,
26     Unruh Civil Rights Act and California Disabled Persons Act.
27            51.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
28     has suffered damages.



                                     COMPLAINT FOR DAMAGES - 12
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 1                                      PRAYER FOR RELIEF
 2           WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 3     Defendants as follows:
 4           1.     For preliminary and permanent injunction directing Defendants to comply
 5     with the Americans with Disability Act and the Unruh Civil Rights Act;
 6           2.     Award of all appropriate damages, including but not limited to statutory
 7     damages, general damages and treble damages in amounts, according to proof;
 8           3.     Award of all reasonable restitution for Defendants’ unfair competition
 9     practices;
10           4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
11     action;
12           5.     Prejudgment interest pursuant to California Civil Code § 3291; and
13           6.     Such other and further relief as the Court deems just and proper.
14                                DEMAND FOR TRIAL BY JURY
15           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
16     demands a trial by jury on all issues so triable.
17     Dated: June 2, 2020                     SO. CAL. EQUAL ACCESS GROUP
18
19
20                                             By:   _/s/ Jason Yoon_______________
                                                     Jason Yoon, Esq.
21                                             Attorneys for Plaintiff
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